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CRT — Proposed Case Schedule Modification

Event Current Date Proposed Dates!
Last day for opening October 23, 2013 January 21, 2014
expert reports on the
merits
Last day for opposition November 22, 2013 April 22, 2014
expert reports on the
merits
Last day for rebuttal January 31, 2014 July 22, 2014
expert reports on the
merits
Close of fact and expert March 3, 2014 September 5, 2014
discovery
Last day to file April 15, 2014 October 3, 2014
dispositive motions
Last day to file June 2, 2014 November 21, 2014
oppositions to dispositive
motions
Last day to file replies in | July 2, 2014 December 19, 2014
support of dispositive
motions
Hearing on dispositive July 18, 2014 January 16, 2015
motions
Mediation July 31, 2014 January 20, 2015
Last day for actions filed | August 15, 2014 5 days after the Court rules on
outside of ND Cal. to be dispositive motions
returned to courts in
which originally filed
Last day for settlement August 15, 2014 January 20, 2015
conference
Last day for filing August 15, 2014 January 23, 2015
motions in limine and

' In addition to the Direct Purchaser Plaintiff and Indirect Purchaser Plaintiff actions, the proposed dates would
apply in the following DAP actions: Electrograph Sys., Inc. v. Hitachi, Ltd., No. 11-cv-01656 (N.D. Cal.); Stoebner
v. LG Elees., Inc., No. 11-cv-05381 (N.D. Cal); Siegel v. Hitachi, Lid., No. 11-cv-05502 (N.D. Cal.); Best Buy Co.,
Inc. v. Hitachi, Ltd., No. 11-cv-05513 (ND. Cal.); Target Corp. v. Chunghwa Picture Tubes, Ltd., No. 11-cv-05514
(N.D. Cal.); Interbond Corp. of Am. v. Hitachi, Lid, No. 11-cv-06275 (N.D. Cal.); Office Depot, Inc. v. Hitachi,
Ltd., No. 11-cv-06276 (N.D. Cal.); CompuCom Sys., Inc. v. Hitachi, Ltd., No. 11-cv-06396 (N.D. Cal.); Costco
Wholesale Corp. v. Hitachi, Ltd., No. 11-cv-06397 (N.D. Cal.); P.C. Richard & Son Long Island Corp. v. Hitachi,
Ltd., No. 12-cv-02648 (N.D. Cal.); Schultze Agency Servs., LLC v. Hitachi, Ltd., No. 12-cv-02649 (N.D. Cal.); Tech
Data Corp. v. Hitachi, Ltd, No. 13-cv-00157 (N.D. Cal.); Sharp Elecs. Corp. et al. v. Hitachi, Ltd. et al., No. 13-cv-
01173 (N.D. Cal.); Dell Inc. v. Hitachi Lid., No. 13-cv-02171 (N.D. Cal.); and Sharp Elecs. Corp. et al v.
Koninklijke Philips Elecs. N.V. et al, No. 13-cv-02776 (N.D. Cal.). The proposed dates would also apply to the
action of the California Attorney General but only insofar as the close of fact and expert discovery on defendants,
the date of the expert reports, and mediation are concerned.
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Event Current Date Proposed Dates!

other non-dispositive pre-
trial motions”

Last day to meet and August 22, 2014 January 30, 2015
confer re pretrial order
Parties must exchange August 29, 2014 February 6, 2015

proposed exhibits and
witness lists

Last day for filing pretrial | August 29, 2014 February 6, 2015
order, agreed set of jury
instructions and verdict

forms

Last day for filing August 29, 2014 February 13, 2015
oppositions to motions in

limine

Last day for filing replies | September 12, 2014 February 20, 2015
in support of motions in

limine

Hearing on motions in September 26, 2014 February 27, 2015
limine

Final pretrial conference | October 6, 2014 February 27, 2015
Trial(s) October 20, 2014 March 9, 2015

? All deadlines from January 23, 2015 onward do not apply to those actions that were filed outside of the N.D. Cal.
and, following the Court’s rulings on dispositive motions, they will be returned to the courts in which they were
originally filed.
